
Pennington, J.
The first error assigned in this case is, that the jury found no verdict, notwithstanding which, the justice rendered judgment. The fact, as it appears by the record, is that the justice, in entering the verdict, made use of the word judgment, instead of verdict. That is, the jury, by their foreman, find a judgment for the plaintiff I am not satisfied to reverse the judgment for this slip of the pen.
[*] The second error assigned is, that no state of demand was filed. The record says that there was a state of demand filed.
The third error is, that the justice charged the defendant below with the costs of each party. But this fact does not appear.
The fourth, fifth and sixth errors, all go to defects in the venire and return; these errors, if real, are cured by the trial and verdict in the presence of both parties, and no objection taken.
The seventh error assigned is, that the witnesses were not sworn or affirmed. The record is silent on this point. To warrant a reversal on this ground, I think it ought to appear that the witnesses were not sworn. We must presume that the justice did what the law required of him in this respect; *462no objection was taken beloAv. On the Avhole, I think the judgment ought to be affirmed.
Davenport, for plaintiff.
The other judges concurred.
Judgment affirmed.
Cited in State v. Mayhem, 4 Halst. 70.
